                          Case 1:19-cr-00895-AKH Document 45 Filed 10/27/20 Page 1 of 4
AO 2458 (Rev. 09/ 19)   Judgment in a Cri minal Case   (form modified within District on Sep!. 30, 2019)
                        Sheet l



                                            UNITED STATES D1sTbcT COURT
                                                           Southern District of New York
                                                                                )
              UNITED STATES OF AMERICA                                          )        JUDGMENT IN A CRIMINAL CASE
                                                                                            I



                                    V.                                          )
              Oluwaseun Olubukola Ogunbambo                                     )
                                                                                         Case Number: 1: 19 Cr. 00895 (AKH)
                                                                                )
                                                                                )        U~M Number: 48287-198
                                                                                )
                                                                                )         Charlie Carrillo / AUSA, David Robles
                                                                                )        Defendant's Attorney
THE DEFENDANT:
!Yl pleaded guilty to count(s)           1, 2, 3
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found    guilty on count(s)
   after a plea of not guilty .

The defendant is adjudicated guilty of these offenses :

Title & Section                    Nature of Offense                                                               Offense Ended             Count
18 USC 1542 and 2                   Making False Statements in a passport Application                               6/16/2016                     1

18 USC 1542 and 2                   Making False Statements in a passport Appl \cation                              9/25/2017                     2
18 USC 1542 and 2                   Making False Statements in a passport Application                               1/29/2018                     3

       The defendant is sentenced as provided in pages 2 through                _ _4_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has      been found not gui lty on count(s)

                       ---------•
Ill Count(s) -All-open
                  ~ -counts                                     is      Ill are dismissed on the motion of the United States.
         It is ordered that the defe ndant must notify the Un ited States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines , restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                 10/14/2020




                   USDCSDNY
                   DOCUMENT
                                                                                                Hon . Alvin K. Hellerstein, U.S. District Judge
                   ELECTRONICALLY FILED                                        Name and Title of Judge
                   DOC#:
                   DATEF-IL_E_D_:_l_0_/2_1_/_2_0_~_                                               /0       /2-7~~
                                                   I                           Date
                                                                                                       I/
                           Case 1:19-cr-00895-AKH Document 45 Filed 10/27/20 Page 2 of 4
AO 245B (Rev . 09/19) Judgment in Criminal Case
                       Sheet 2 - Imprisonment

                                                                                                  Judgment -   Page   - =2-   of   4
 DEFENDANT: Oluwaseun Olubukola Ogunbambo
 CASE NUMBER: 1: 19 Cr. 00895 (AKH)

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  18 months. The defendant is notified of his right to appeal.




      D The court makes the following recommendations to the Bureau of Prisons:




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
           D at      ----------
                                                  D a.m .    D p.m .      on

           D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the Un_ited States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows :




           Defendant delivered on                                                       to. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UN ITED STATES MARSHAL



                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL
                           Case 1:19-cr-00895-AKH Document 45 Filed 10/27/20 Page 3 of 4
AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment - Page __3
                                                                                                                          ~_ of           4
 DEFENDANT: Oluwaseun Olubukola Ogunbambo
 CASE NUMBER: 1: 19 Cr. 00895 (AKH)
                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment               Restitution               Fine                   AVAA Assessment*        JVTA Assessment**
 TOTALS            $    300 .00              $                        $                       $                       $



 D The determination of restitution is deferred until - - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination .

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an appro~imately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U .S.C . § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                    Total Loss***               Restitution Ordered    Priority or Percentage




 TOTALS                                $                          0.00            $                     0.00
                                                                                      - -- - - - - - - -

 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        D the interest requirement is waived for the              D fine     D restitution.
        D the interest requirement for the           D     fine    D restitution is modified as follows :

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No . 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No . 114-22.
 * * * Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23 , 1996.                                .
AO 2458 (Rev. 09/ 19)       Case
                        Judgment  in a 1:19-cr-00895-AKH
                                       Criminal Case               Document 45 Filed 10/27/20 Page 4 of 4
                        Sheet 6 - Schedule of Payments

                                                                                                            Judgment - Page   - ~4-   of      4
 DEFENDANT: Oluwaseun Olubukola Ogunbambo
 CASE NUMBER: 1: 19 Cr. 00895 (AKH)


                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows :

 A     [{J   Lump sum payment of$       300 .00                due immediately, balance due


             •     not later than                                   , or
                                                                                       I
             •     in accordance with
                                        •   C,
                                                  •    D,
                                                               •     E, or
                                                                              •    F below; or

 B     •     Payment to begin immediately (may be combined with              DC,           DD, or     D F below); or

 C     D     Payment in equal      _ _ _ _ _ (e.g. , weekly, monthly, quarterly) installments of $ ____ over a period of
                           (e.g., months or years), to commence _ _ _ _ _ (e .g. 1 30 or 60 days) after the date of this judgment; or

 D     D     Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                           (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     •     Payment during the term of supervised release will commence within _ _ ___ (e. g. , 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant' s ability to pay at that time; or

 F     •     Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if th is judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those pay111ents made through the Federal Bureau of Prisons ' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                     Joint and Several            Corresponding Payee,
       (including defendant number)                         Total Amount                         Amount                      if appropriate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant' s interest in the following property to the United States:




 Payments ~ha_ll be applied _in the following ord~r: (1) ~sse_ssment, (2) restitution principal, (3) i:estitution interest, (4) A VAA assessment,
 (5) fine pnnc1pal, (6) fine interest, (7) community rest1tut1on, (8) NT A assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs .
